     Case 2:19-cv-04237-SVW-PJW Document 23-2 Filed 07/15/19 Page 1 of 3 Page ID #:786



               1 RYAN M. LAPINE, ESQ. (Cal. Bar No. 239316)
                 rlapine@rmslaw.com
               2 JOSHUA H. HERR, ESQ. (Cal. Bar No. 301775)
                 jherr@rmslaw.com
               3 ROSENFELD, MEYER & SUSMAN LLP
                 232 North Canon Drive
               4 Beverly Hills, California 90210-5302
                 Telephone: (310) 858-7700
               5 Facsimile: (310) 860-2430
               6 Attorneys for Plaintiffs
                 NANO FOUNDATION, LTD. and
               7 COLIN LeMahieu
               8                     UNITED STATES DISTRICT COURT
               9                   CENTRAL DISTRICT OF CALIFORNIA
              10
              11 NANO FOUNDATION, LTD., a New ) Case No. 2:19-cv-04237 DDP (PJWx)
                 York non-profit corporation; and      )
              12 COLIN   LeMAHIEU,     an  individual, ) DECLARATION OF RYAN M.
                                                       ) LAPINE IN SUPPORT OF
              13             Plaintiffs,               ) PLAINTIFFS NANO
                                                       ) FOUNDATION, LTD. AND COLIN
              14       vs.                             ) LEMAHIEU'S OPPOSITION TO
                                                       ) DEFENDANT DAVID C. SILVER'S
              15 DAVID   C. SILVER,    an individual,  ) SPECIAL MOTION TO STRIKE
                                                       ) COMPLAINT PURSUANT TO CAL.
              16             Defendant.                ) CODE CIV. PROC. §425.16
                                                       )
              17                                       ) Date: August 5, 2019
                                                       ) Time: 1:30 p.m.
              18                                       ) Judge: Hon. Stephen V. Wilson
                                                       ) Ctrm: 10A – 10th Floor
              19                                       )
              20
              21
              22
              23
              24
              25
              26
              27
              28
LAW OFFICES
ROSENFELD,                                               1
 MEYER &
SUSMAN LLP                     DECLARATION OF RYAN M. LAPINE IN SUPPORT OF PLAINTIFFS'
                   520509.01   OPPOSITION TO DEFENDANT'S MOTION TO STRIKE COMPLAINT
     Case 2:19-cv-04237-SVW-PJW Document 23-2 Filed 07/15/19 Page 2 of 3 Page ID #:787



               1                             DECLARATION OF RYAN M. LAPINE
               2               I, RYAN M. LAPINE, declare as follows:
               3               1.    I am an attorney duly admitted to practice before this Court and, a
               4 partner at Rosenfeld, Meyer & Susman LLP ("RMS"), am counsel of record in this
               5 matter for Plaintiffs Nano Foundation, Ltd. And Colin LeMahieu ("Plaintiffs"). I
               6 have personal knowledge of the facts set forth in this Declaration and, if called as a
               7 witness, could and would testify competently to such facts under oath. I make this
               8 Declaration in support of Plaintiffs' Opposition To Defendant David C. Silver's
               9 Special Motion To Strike Complaint Pursuant To Cal. Code Civ. Proc. §425.16.
              10               2.    Attached hereto as Exhibit "1" is a true and correct copy of an article I
              11 retrieved on July 15, 2019 from MIT Technology Review, entitled "Explainer:
              12 What is a Blockchain?" dated April 23, 2018, from
              13 https://www.technologyreview.com/s/610833/explainer-what-is-a-blockchain/.
              14               3.    Attached hereto as Exhibit "2" is a true and correct copy of an article
              15 by Ainsley Harriot which I retrieved on July 15, 2019 from the publication
              16 "Medium," entitled, "RaiBlocks (Nano) Is Objectively The Best Pure
              17 Cryptocurrency — But Its Users Are Rather Panic Prone," dated January 31, 2018,
              18 from https://medium.com/@ainsleyh/raiblocks-is-objectively-the-best-pure-
              19 cryptocurrency-but-its-users-are-rather-panic-prone-bfa7597750c3. Therein Harriot
              20 states:
              21               RaiBlocks wins. RaiBlocks has zero fees and instant transactions (or as
              22               close to instant as can be achieved given the infrastructure limits of
              23               ping times and CPU power). Its phenomenal transaction throughput
              24               means it’s very likely to be able to be adopted by the whole world
              25               without so much as breaking a sweat. It’s infinitely scalable thanks to
              26               its block-lattice tech, something that BTC, DASH, ETH and LTC
              27               cannot claim with any validity.
              28
LAW OFFICES
ROSENFELD,                                                         2
 MEYER &
SUSMAN LLP                              DECLARATION OF RYAN M. LAPINE IN SUPPORT OF PLAINTIFFS'
                   520509.01            OPPOSITION TO DEFENDANT'S MOTION TO STRIKE COMPLAINT
Case 2:19-cv-04237-SVW-PJW Document 23-2 Filed 07/15/19 Page 3 of 3 Page ID #:788
